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                        EXHIBIT 07
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                                                                                            EXHIBIT 07

[Translator's note:. The two email below were both originally written in English and were
automatically translated into French by Gmail. Since this French translation is the only QOPY Ms.
Farrugia has agreed to furnish, we have no choice but to retranslate them back into English.]


                             Gmail- Subject: [EXTERNAL EMAIL] - Confirmation

                   This message has been automatically                                      Heidi Brown
Gmail              translated: English-> French.                               <heidimparis@gmail.com>

Subject: [EXTERNAL EMAIL] - Confirmation
Tapara Simmons <TSIMMMONS3@fbi.gov>                                       Tue, Sep 26, 2023 at 8:11 AM
To: Heidi Paris <hindimparis@gmail.com>

   Heidi,

   The FBI has now closed its investigation into this case. The decision to close the case in no
   way diminishes the important contribution that you made to the investigation. Your help and
   cooperation were greatly appreciated. The investigation was closed because the United
   States Attorney's Office (USAO) declined to prosecute. For more information, please contact
   the USAO.

   If you have additional questions, please contact us by email.

   Respectfully yours,                                                            [Stamp:]
   TaPara Simmons Jr.                                                             Sandrine FARRUGIA
   Special agent                                                                  Attorney of the court
   Portland Division                                                              Exhibit 87
   VCACNIC

   -----Original message---
   From: Heidi Paris <hindimparis@gmail.com>
   Sent: Saturday, September 16, 2023 at 2:47 pm
   To: Tapara Simmons Jr. (PD) (FBI) <TSIMMMONS3@fbi.gov>
   Subject: [EXTERNAL EMAIL] - Confirmation

   Hello Mr. Simmons,

   Could you send me an email confirming that the FBI will not be filing child abduction charges
   against Mr. Paris?

   Thank you,

   Heidi




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 9/26113. 9:02 AM                                                      Gmail - Objet : [EMAIL EXTERNEJ -Confinnation


                                          This message has been automatically                                                              Heidi Brown
               Gmail                          translated: English -> French.                                                  <heidlmparis@gmail.com>


   Objet : [EMAIL EXTERNE] - Confirmation
   Tapara Simmons <TSIMMONS3@fbi.gov>                                                                                        Tue, Sep 26, 2023 at 8:11 AM
   To: Heidi Paris <heidimparis@gmail.com>
     Heidi,

     A l'heure actuelle, le FBI a cJOture son enquete sur cette affalre. La decision de clore cette affaire ne diminue en rien
     l'importante contribution que vous avez apportee a renquete. Votre aide et votre cooperation ont ete grandement
     apprecfees. L'enquete a ete close parce que le bureau du procureur des Etats-Unis (USAO) a refuse d'engager des
     poursuites. Pour plus d'lnformations, veuillez contacter l'USAO.

     Si vous avez des questions supplementaires, veuillez nous contacter par e-mail.

     Avec respect,

     TaPara Simmons Jr
     Agent special
     Division de Portland
     VCACNIC

     -Message original--
     De : Heidi Paris < ruilim!Jparis@gmail.com >
     Envoye: sarnecli 16 septembre 2023 a 14h47
     A: Simmons, Tapara Jr. (PD) (F=BI) < TSIMMONS3@fbi.gov >
     Objet : [EMAIL EXTERNE] - Confirmation

     Bonjour M. Simmons,

     Pourtiez-vous m'envoyer un e-maH conflrmant que le FBI ne portera pas d'accusations liees a l'enlevement d'enfants
     contra M. Paris ?

     Merci,

     Heidi




h1tps://ruail.googl<>.com/mnil/u/O/?ui:2&ik=:.Sle6fVefbc&jsver-=pMOMeFn82yA.en..esS&cbl=grnail.piJJto-Sl!rvar_20230904.06_pO&viewcotm&!ft=cn&sC'1rnh=inbox.. ,   1/1




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